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7

8
                             UNITED STATES DISTRICT COURT
9
                        CENTRAL DISTRICT OF CALIFORNIA
10

11
     HOANG MINH LE, an individual             Case No.: 8:22-cv-01062
12
                Plaintiff,                    COMPLAINT FOR
13
          vs.
14                                               (1) VIOLATION OF THE UNRUH
     NEAL T. BAKER ENTERPRISES, a                    CIVIL RIGHTS ACT
15   California corporation;
                                                     (CALIFORNIA CIVIL CODE
16              Defendants.                          §§ 51, 52);
17                                               (2) VIOLATIONS OF THE
                                                     AMERICANS WITH
18
                                                     DISABILITIES ACT OF 1990
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                                      COMPLAINT
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1
                                          I.      SUMMARY
2
             1.    This is a civil rights action by Plaintiff HOANG MINH LE (“Plaintiff”)
3
     for discrimination at the building, structure, facility, complex, property, land,
4
     development, and/or the entire parking lot surrounding the shopping plaza located at:
5
     5396 Mission Blvd, Riverside, CA 92509-4626, Riverside County (the “Property”).
6
     Plaintiff lives approximately 20 minutes from the Property. On this particular visit, he
7
     desired to patronize the “Baker’s Drive Thru” eatery located at the Property.
8
             2.    Plaintiff seeks damages, injunctive and declaratory relief, attorney’s fees
9
     and costs pursuant to the Americans with Disabilities Act of 1990 (42 U.S.C. §§
10
     12101, et seq.) and related California statutes 1 against Defendants, the tenants and/or
11
     owners of the Property NEAL T. BAKER ENTERPRISES, a California corporation
12
     (“Defendant”).
13
                                                  II.
14
                                           JURISDICTION
15
             3.    This Court has original jurisdiction under 28 U.S.C. §§ 1331 and 1343
16
     for ADA claims.
17
             4.    Supplemental jurisdiction for claims brought under parallel California
18
     law – arising from the same nucleus of operative facts – is predicated on 28 U.S.C §
19
     1367.
20
             5.    Plaintiff’s claims are authorized by 28 U.S.C. §§ 2201 and 2202.
21
                                                  III.
22
                                                 VENUE
23
             6.    All actions complained of herein take place within the jurisdiction of the
24
     United States District Court, Central District of California, and venue is invoked
25
     pursuant to 28 U.S.C. § 1391(b), (c).
26
                                                  IV.
27
     1
28    Plaintiff is not currently asserting a cause of action under California Civil Code § 55, but may
     amend his complaint at a later time upon discovery of facts which give rise to such a claim.
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                                              PARTIES
2
           7.       On information and belief, Plaintiff alleges that Defendant is, or was at
3
     the time of the incident, the owners, operators, lessors and/or lessees of the Property,
4
     and consist of a person (or persons), firm, company, and/or corporation.
5
           8.       Plaintiff is a T-12 paraplegic, and as a result is unable to walk or stand,
6
     and thus requires a use of a wheelchair at all times when traveling in public. Plaintiff
7
     is “physically disabled” as defined by all applicable California and United States laws,
8
     and a member of the public whose rights are protected by these laws. Plaintiff is a
9
     resident of San Bernardino, California. Plaintiff is considered a high frequency
10
     litigant as that term is defined in California Code of Civil Procedure § 425.55(b). In
11
     the twelve months preceding the filing of this complaint, Plaintiff has filed
12
     approximately sixteen (16) other construction accessibility related claims.
13
                                                       V.
14
                                                  FACTS
15
           9.       On or about March 21, 2022 and September 2019, Plaintiff patronized
16
     the Property. The Property is a sales or retail establishment, open to the public, which
17
     is intended for nonresidential use and whose operation affects commerce.
18
           10.      Plaintiff visited the Property and encountered barriers (both physical and
19
     intangible) that interfered with Plaintiff’s ability to use and enjoy the goods, services,
20
     privileges and accommodations offered at the facility. To the extent known by
21
     Plaintiff, the barriers at the Property included, but are not limited to the following:
22
                 a. Accessible parking spaces do not lead to accessible pathways. Without
23
                    accessible pathways that are of compliant width and slope, Plaintiff
24
                    cannot comfortably and safely travel throughout the Property.
25
                    Specifically, accessible parking spaces lead to built up curb ramps which
26
                    are too steep for Plaintiff to comfortably and safely navigate.
27
                 b. Accessible parking spaces are not properly marked, including but not
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                                                   2
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1
                    limited to the lack of vertical signage indicating which spaces are
2
                    intended for accessible parking. Additionally, pavement markings are
3
                    severely faded. This coupled with the lack of vertical signage makes it
4
                    difficult for Plaintiff to determine which spaces are intended to and will
5
                    accommodate persons with disabilities. Moreover, the lack of proper
6
                    signage makes it more likely that other patrons will fail to recognize that
7
                    such spaces and the accompanying access aisles are meant for disabled
8
                    parking only. When this happens, other patrons are more likely to park
9
                    in the access aisle. Plaintiff, however, needs the access aisle to transfer
10
                    in and out of his car from his wheelchair. Without the access aisle,
11
                    Plaintiff does not have enough space to comfortably make the transfer.
12
                    Thus when other cars park in the access aisle, this leaves Plaintiff trapped
13
                    outside his car.
14
                 c. Plaintiff alleges parking spaces and accompanying access aisles have
15
                    slopes and/or cross slopes that exceed 2.0%. Without a level parking
16
                    space, it is difficult for Plaintiff to unload/transfer from a vehicle as his
17
                    wheelchair rolls.
18
           11.      These barriers to access are listed without prejudice to Plaintiff citing
19
     additional barriers to access after inspection by Plaintiff’s access consultant, per the
20
     9th Circuits standing standards under Doran v. 7-Eleven, Inc. 524 F.3d 1034 (9th Cir.
21
     2008). These barriers prevented Plaintiff from enjoying full and equal access to the
22
     Property.
23
           12.      Plaintiff experienced difficulty, discomfort and embarrassment as a result
24
     of the accessible barriers he encountered. He continues to be deterred from visiting
25
     the Property because of the future threats of injury created by these barriers. Plaintiff
26
     would patronize the Property once the barriers are removed as he enjoys the Baker’s
27
     Drive Thru located at the Property and is often in the area for dining and
28
                                                    3
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1
     entertainment.
2
           13.    On information and belief, Plaintiff alleges that Defendant knew that
3
     these elements and areas of the Property were inaccessible, violate state and federal
4
     law, and interfere with (or deny) access to the physically disabled. Moreover,
5
     Defendant has the financial resources to remove these barriers from the Property
6
     (without much difficult or expense), and make the Property accessible to the
7
     physically disabled. To date, however, the Defendant refuses to remove those
8
     barriers.
9
           14.    On information and belief, Plaintiff alleges that at all relevant times,
10
     Defendant has possessed and enjoyed sufficient control and authority to modify the
11
     Property to remove impediments to wheelchair access and to comply with the
12
     Americans with Disabilities Act Accessibility Guidelines and Title 24 regulations.
13
     Defendant has not removed such impediments and has not modified the Property to
14
     conform to accessibility standards.
15
                                                VI.
16
           FIRST CAUSE OF ACTION: VIOLATION OF CALIFORNIA LAW
17
           INCLUDING: THE UNRUH ACT, CIVIL CODE §§ 51, 52 AND THE
18
      AMERICANS WITH DISABILITIES ACT AS INCORPORATED BY CIVIL
19
                                      CODE SECTION 51(f)
20
            15.   Plaintiff incorporates the allegations contained in paragraphs 1 through
21
     14 for this claim and incorporates them herein.
22
            16.   At all times relevant to this complaint, California Civil Code § 51 has
23
     provided that physically disabled persons are free and equal citizens of the state,
24
     regardless of disability or medical condition:
25
            17.   All persons within the jurisdiction of this state are free and equal, and no
26
     matter what their sex, race, color, religion, ancestry, national origin, disability, or
27
     medical condition are entitled to the full and equal accommodations, advantages,
28
                                                  4
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1
     facilities, privileges, or services in all business establishments of every kind
2
     whatsoever. Cal. Civ. Code § 51(b).
3
           18.     California Civil Code § 52 provides that the discrimination by Defendant
4
     against Plaintiff on the basis of his disabilities constitutes a violation of the anti-
5
     discrimination provisions of §§ 51 and 52.
6
           19.    Defendant’s discrimination constitutes a separate and distinct violation of
7
     California Civil Code § 52 which provides that:
8
           Whoever denies, aids or incites a denial, or makes any discrimination or
9
           distinction contrary to section 51, 51.5 or 51.6 is liable for each and every
10
           offense for the actual damages, and any amount that may be determined by a
11
           jury, or a court sitting without a jury, up to a maximum of three times the
12
           amount of actual damage but in no case less than four thousand dollars ($4,000)
13
           and any attorney’s fees that may be determined by the court in addition thereto,
14
           suffered by any person denied the rights provided in Section 51, 51.5 or 51.6.
15
           20.    Any violation of the Americans with Disabilities Act of 1990 (as pled in
16
     the Second Cause of Action) constitutes a violation of California Civil Code § 51(f)
17
     thus independently justifying an award of damages and injunctive relief pursuant to
18
     California law. Per § 51(f), “[a] violation of the right of any individual under the
19
     Americans with Disabilities Act of 1990 … shall also constitute a violation of this
20
     section.”
21
           21.    In addition to the occurrence in March 2022 Plaintiff is entitled to
22
     $4,000.00 in statutory damages for each additional occurrence of discrimination under
23
     California Civil Code § 52. Plaintiff continues to be deterred from visiting the
24
     Property and thus is entitled to an additional $4,000.00 in statutory damages for each
25
     additional instance of deterrence or discrimination which occurs from the date of this
26
     complaint until a final judgment is rendered in this action.
27
           22.    The actions and omissions of Defendant as herein alleged constitute a
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                                                   5
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1
     denial of access to and use of the described public facilities by physically disabled
2
     persons within the meaning of California Civil Code §§ 51 and 52. As a proximate
3
     result of Defendant’s action and omissions Defendant has discriminated against
4
     Plaintiff in a violation of Civil Code §§ 51 and 51.
5
                                               VII.
6
      SECOND CAUSE OF ACTION: VIOLATION OF THE AMERICANS WITH
7
                   DISABILITIES ACT OF 1990 (42 USC §§ 12101 et seq.)
8
           23.    Plaintiff incorporates the allegations contained in paragraphs 1 through
9
     23 for this claim and incorporates them herein.
10
           24.    As part of the Americans with Disabilities Act of 1990 (“ADA”),
11
     Congress passed “Title III – Public Accommodations and Services Operated by
12
     Private Entities.” 42 U.S.C. § 12181 et seq. The Property is one of the “private
13
     entities” which are considered “public accommodations” for purposes of this title,
14
     which includes any “restaurant, bar, or other sales or rental establishment serving food
15
     or drink.” § 301(7)(B).
16
           25.    The ADA states that “[n]o individual shall be discriminated against on
17
     the basis of disability in the full and equal enjoyment of the goods, services, facilities,
18
     privileges, advantages, or accommodations of any place of public accommodation by
19
     any person who owns, leases, or leases to, or operates a place of public
20
     accommodation.” 42 U.S.C. § 12182.
21
           26.    The acts and omissions of Defendant set forth herein were in violation of
22
     Plaintiff's rights under the ADA and the regulations promulgated thereunder, 28 CFR
23
     Part 36 et seq.
24
           27.    On information and belief, Plaintiff alleges that the Property was
25
     constructed after 1992 and thus Defendant is not entitled to the readily achievable
26
     defense. On further information and belief, Plaintiff alleges that the removal of each
27
     of the barriers complained of by Plaintiff as hereinabove alleged, were at all times
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                                                  6
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1
     herein mentioned "readily achievable" under the standards §§ 30 l and 302 of the
2
     ADA. As noted hereinabove, removal of each and every one of the architectural
3
     barriers complained of herein were also required under California law. Further, on
4
     information and belief, alterations, structural repairs or additions since January 26,
5
     1993 have also independently triggered requirements for removal of barriers to access
6
     for disabled persons per § 303 of the ADA. In the event that removal of any barrier is
7
     found to be "not readily achievable," Defendant still violated the ADA, per§ 302(b
8
     )(2)(A)(v) by failing to provide all goods, services, privileges, advantages and
9
     accommodations through alternative methods that were readily achievable.
10
           28.    On information and belief, Plaintiff alleges that as of the date of
11
     Plaintiff’s encounter at the Property and as of the filing of this Complaint, the
12
     Defendant has denied and continues to deny full and equal access to Plaintiff and to
13
     other disabled persons, including wheelchair users, in other respects, which violate
14
     Plaintiff's rights to full and equal access and which discriminate against Plaintiff on
15
     the basis of his disability, thus wrongfully denying to Plaintiff the full and equal
16
     enjoyment of the goods, services, facilities, privileges, advantages and
17
     accommodations, in violation of§§ 302 and 303 of the ADA. 42 USC§§ 12182 and
18
     12183.
19
           29.    On information and belief, Plaintiff alleges that Defendant has continued
20
     to violate the law and deny the rights of Plaintiff and other disabled persons to access
21
     this public accommodation since on or before Plaintiff's encounters, as previously
22
     noted. Pursuant to the ADA, § 308, 42 USC 12188 et seq., Plaintiff is entitled to the
23
     remedies and procedures set forth in§ 204(a) of the Civil Rights Act of 1964, 42 USC
24
     2000(a)-3(a), as Plaintiff is being subjected to discrimination on the basis of disability
25
     in violation of the ADA or has reasonable grounds for believing that he is about to be
26
     subjected to discrimination. Pursuant to § 308(a)(2), "In cases of violations of§ 302(b
27
     )(2)(A)(iv) and § 303(a) ... injunctive relief shall include an order to alter facilities to
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                                                   7
                                            COMPLAINT
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1
     make such facilities readily accessible to and usable by individuals with disabilities to
2
     the extent required by this title."
3
              30.   Plaintiff seeks relief pursuant to remedies set forth in§ 204(a) of the Civil
4
     Rights Act of 1964, 42 USC 2000(a)-3(a), and pursuant to Federal Regulations
5
     adopted to implement the Americans with Disabilities Act of 1990. Plaintiff is a
6
     qualified disabled person for purposes of § 308(a) of the ADA who is being subjected
7
     to discrimination on the basis of disability in violation of Title III and who has
8
     reasonable grounds for believing he will be subjected to such discrimination each time
9
     that he may attempt to use the Property and premises.
10
                                                 PRAYER
11
              31.   WHEREFORE, Plaintiff prays that this court award damages and provide
12
     relief as follows:
13
        1. Issue a preliminary and permanent injunction directing Defendant as current
14
     owners, operators, lessors, and/or lessees of the Property to modify the above
15
     described Property and related facilities so that each provides full and equal access to
16
     all persons, including but not limited to persons with physical disabilities who use
17
     wheelchairs, and issue a preliminary and permanent injunction directing Defendant to
18
     provide and maintain facilities usable by Plaintiff and similarly situated persons with
19
     disabilities, and which provide full and equal access, as required by law, including
20
     appropriate changes in policy;
21
        2. Retain jurisdiction over the Defendant until such time as the Court is satisfied
22
     that Defendant’s unlawful policies, practices, acts and omissions, and maintenance of
23
     inaccessible public facilities as complained of herein no longer occur, and can not
24
     recur;
25
        3. Award to Plaintiff statutory damages of $4,000 for each occurrence of
26
     deterrence or discrimination experienced by Plaintiff until a final judgment is rendered
27
     in this case, all according to proof;
28
                                                   8
                                             COMPLAINT
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 1
        4. Award to Plaintiff all appropriate damages, including but not limited to
 2
     statutory damages, general damages and treble damages in amounts within the
 3
     jurisdiction of this Court, all according to proof;
 4
        5. Award to Plaintiff all reasonable statutory attorney fees, litigation expenses, and
 5
     costs of this proceeding as provided by law;
 6
        6. Award to Plaintiff prejudgment interest pursuant to California Civil 17 Code§
 7
     3291;
 8
        7. Grant such other and further relief as this Court may deem just and proper.
 9

10                                      ASCENSION LAW GROUP, PC

11
     DATE: May 26, 2022                       _____/s/ Pamela Tsao__
12                                        Pamela Tsao, attorney for Plaintiff
13                                                Hoang Minh Le
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                                           COMPLAINT
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